Case 1:17-cv-02003-GBD-SN Document 173-1 Filed 10/18/19 Page 1 of 25




                       EXHIBIT 1
        Case 1:17-cv-02003-GBD-SN Document 173-1 Filed 10/18/19 Page 2 of 25


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
____________________________________
                                    )                 Civil Action No. 03 MDL 1570 (GBD) (SN)
IN RE: TERRORIST ATTACKS ON         )                 ECF Case
SEPTEMBER 11, 2001                  )
                                    )
____________________________________)

This document relates to: All Actions

                                            DECLARATION

        We are families of the victims of the September 11, 2001 Attacks. Most of us lost a spouse,

child, mother, father, or sibling on that terrible day. Others survived the attacks and suffered injuries

that plague us to this day.

        We respond to the recent Declaration of FBI Assistant Director Michael McGarrity.

        Mr. McGarrity states that he is currently in charge of the FBI Division that was responsible for

the FBI’s 9/11 investigation. He claims that “the FBI has long been committed to providing the

families of the victims with transparency regarding its investigation.” Nothing could be further from

the truth.

        To our knowledge, none of the 9/11 Families have ever seen or heard from Mr. McGarrity or

from anyone from his department. Indeed, we cannot recall anyone from the FBI ever having

contacted us, and there certainly has been no outreach by the FBI to the 9/11 Families over the past

five years.

        We are unaware of any work that Mr. McGarrity has done on the 9/11 case. Indeed, Mr.

McGarrity does not state that he has personally done any such work. To our knowledge, the only work

Mr. McGarrity has done regarding our case is to support the FBI’s efforts to withhold key evidence in

its files about the criminals responsible for the 9/11 Attacks and the deaths of our loved ones.

        We know that the al Qaeda hijackers could not have succeeded without substantial help inside

the United States from a group of like-minded individuals. Those individuals remain at large.
        Case 1:17-cv-02003-GBD-SN Document 173-1 Filed 10/18/19 Page 3 of 25


       After 18 years, the FBI’s work resulted in no arrests, no prosecutions, and no convictions of the

criminals who aided and abetted the 9/11 hijackers inside the United States. No satisfactory

explanation for these failures has ever been provided to us by the FBI.

       We know that a team of FBI agents collected evidence that at least three Saudi government

officials provided, or directed others to provide, substantial assistance to the hijackers. Yet the FBI

and our government decided not to bring any criminal charges. Those decisions were never discussed

or shared with us.

       Mr. McGarrity states that the 9/11 investigation is still “open” and that the FBI “expects to

continue the investigation over the long term.” If the case is open, it is in name only. We have seen

nothing to indicate that the FBI is actively working to bring charges against anyone. We believe that

the statements of Mr. McGarrity are made to provide cover for the FBI to continue to conceal key

evidence from the 9/11 Families. And now on top of all that, the FBI has declassified (but only under

seal to our attorneys) the name of the third main criminal subject, while refusing to share the available

proof. At the same time, Mr. McGarrity made secret in camera communications to the Judges in our

case to keep that proof hidden from us and every other American.

       It is clear to us that the JASTA action brought by the 9/11 Families is the only prosecution that

will ever go forward to hold accountable the criminal actors who provided support to the hijackers

inside the United States.

       The FBI’s mission is to bring criminals to justice. The FBI should be transparent and honest

with the 9/11 Families and not seek to hide critical information that we need to pursue our case. We

should not and cannot wait any longer. The evidence is needed now. The FBI should be helping us

rather than standing in our way.




                                                    2
Case 1:17-cv-02003-GBD-SN Document 173-1 Filed 10/18/19 Page 4 of 25
Case 1:17-cv-02003-GBD-SN Document 173-1 Filed 10/18/19 Page 5 of 25
      Case 1:17-cv-02003-GBD-SN Document 173-1 Filed 10/18/19 Page 6 of 25




      I declare under penalty of perjury that the foregoing is true and correct.

              October 16, 2019
Executed on ________________________,  Monmouth
                                      _________________,    NJ
                                                         ___________________
                     (date)                            (county)              (state)




                                                                    (signature)


                                                        Husband Murdered (Thomas E. Sinton III
                                                                    (9/11 Affiliation)




                                                   3
Case 1:17-cv-02003-GBD-SN Document 173-1 Filed 10/18/19 Page 7 of 25
Case 1:17-cv-02003-GBD-SN Document 173-1 Filed 10/18/19 Page 8 of 25
Case 1:17-cv-02003-GBD-SN Document 173-1 Filed 10/18/19 Page 9 of 25
Case 1:17-cv-02003-GBD-SN Document 173-1 Filed 10/18/19 Page 10 of 25
Case 1:17-cv-02003-GBD-SN Document 173-1 Filed 10/18/19 Page 11 of 25
Case 1:17-cv-02003-GBD-SN Document 173-1 Filed 10/18/19 Page 12 of 25
Case 1:17-cv-02003-GBD-SN Document 173-1 Filed 10/18/19 Page 13 of 25
Case 1:17-cv-02003-GBD-SN Document 173-1 Filed 10/18/19 Page 14 of 25
Case 1:17-cv-02003-GBD-SN Document 173-1 Filed 10/18/19 Page 15 of 25
Case 1:17-cv-02003-GBD-SN Document 173-1 Filed 10/18/19 Page 16 of 25
Case 1:17-cv-02003-GBD-SN Document 173-1 Filed 10/18/19 Page 17 of 25
Case 1:17-cv-02003-GBD-SN Document 173-1 Filed 10/18/19 Page 18 of 25
Case 1:17-cv-02003-GBD-SN Document 173-1 Filed 10/18/19 Page 19 of 25
Case 1:17-cv-02003-GBD-SN Document 173-1 Filed 10/18/19 Page 20 of 25
Case 1:17-cv-02003-GBD-SN Document 173-1 Filed 10/18/19 Page 21 of 25
Case 1:17-cv-02003-GBD-SN Document 173-1 Filed 10/18/19 Page 22 of 25
Case 1:17-cv-02003-GBD-SN Document 173-1 Filed 10/18/19 Page 23 of 25
Case 1:17-cv-02003-GBD-SN Document 173-1 Filed 10/18/19 Page 24 of 25
Case 1:17-cv-02003-GBD-SN Document 173-1 Filed 10/18/19 Page 25 of 25
